 

Case 1:19-cv-10911-GBD Document 20 Filed 09/15/20 Page 1of1

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JON R. MORGAN, on behalf of himself and all others
similarly situated,

asad ene MENTE SPORTAL IER POTN BIS

 

Plaintiff,
-against- 19 Civ. 10911 (GBD)
UNIQUE USA, INC.,

Defendant.

GEORGE B. DANIELS, United States District Judge:

The conference scheduled for September 23, 2020 at 9:45 am is canceled.

Dated: New York, New York
September 15, 2020

SO ORDERED.

GEORGE B. DANIELS
n

ited States District Judge

 

 
